            Case 1:13-cr-00065-BLW Document 287 Filed 01/21/14 Page 1 of 11




                             UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF IDAHO



                                               Case No. 1:13-CR-0065-BLW
UNITED STATES OF AMERICA,
                                               FINDINGS OF FACT AND
   Plaintiff,                                  CONCLUSIONS OF LAW

      vs.

ELAINE MARTIN,

   Defendant.


                                       INTRODUCTION

       The Court held a forfeiture hearing on December 11, 2013, and ordered further briefing

that has now been received. After reviewing the evidence and testimony submitted at the

hearing, and the additional briefing, the Court finds that the defendant Elaine Martin shall forfeit

$3,084,038.05. The Court’s analysis is set forth below.

                                       LITIGATION HISTORY

       On September 19, 2013, Martin was found guilty of conspiracy to commit wire fraud and

mail fraud, among other claims. The Government then moved for a preliminary order of

forfeiture based on the jury’s verdict. Because Martin opposed forfeiture and disputed the

amount of any money judgment, the Court held an evidentiary hearing, taking testimony from

seven fact witnesses: Julia Wright, Julie Ann Caldwell, Elizabeth Healas and Agent Joshua

Culbertson were called by the government; Tory Martin, Dora Prudhomme and John (Jack)



FINDINGS OF FACT AND CONCLUSIONS OF LAW - 1
           Case 1:13-cr-00065-BLW Document 287 Filed 01/21/14 Page 2 of 11




Snyder were called by the defendant. This testimony and the admitted exhibits form the basis

for the Findings and Conclusions set forth below.

                                    FINDINGS OF FACT

   1. Defendant Martin had an ownership interest in MarCon Inc., a company that installs steel

      guardrail and places precast concrete barriers on highways.

   2. From approximately 1997 through 2008, Martin opened and maintained a business

      checking account at the Bank of Cascades for MarCon.

   3. During this same period, Martin and her co-owners regularly received checks from this

      account but failed to disclose those payments – or even the existence of the account – to

      their external accountant, who prepared the federal income tax returns for MarCon and its

      shareholders.

   4. As a result, the federal income tax returns prepared and filed on behalf of MarCon and its

      shareholders for tax years 1997 through 2007 were false and fraudulent.

   5. Martin used these fraudulent tax returns, along with other false statements concerning her

      finances, to qualify for special programs – described in more detail below – that resulted

      in MarCon being selected to provide barriers for various construction projects.

   6. Martin was convicted of conspiracy to defraud the United States, and to commit wire

      fraud and mail fraud, as set out in Counts 5 and 12 of the Superseding Indictment.

   7. These convictions stem from Martin’s participation in two different federal government

      programs: (1) the Small Business Administration (SBA) 8(a) Program, and (2) the U.S.

      Department of Transportation’s (U.S. DOT’s) Disadvantaged Business Enterprise

      Program (DBE Program).


FINDINGS OF FACT AND CONCLUSIONS OF LAW - 2
         Case 1:13-cr-00065-BLW Document 287 Filed 01/21/14 Page 3 of 11




  8. The programs are similar in that they are designed to assist individuals who are deemed

     “socially” and “economically” disadvantaged.

  9. To participate in either program, an applicant must show she meets the eligibility

     requirements by submitting an application. Once admitted into either program, a

     participant must show she remains eligible through annual renewal applications.

  10. A crucial component of the initial and renewal applications are tax returns, as well as a

     personal financial statement.

  11. Both the SBA 8(a) Program and the DBE Program are designed to assist their participants

     in competing for, and obtaining, work on federally-funded contracts, either as the prime

     contractor or a subcontractor. The SBA 8(a) Program does so by identifying and setting

     aside certain contracts for 8(a) participants. These sole-source contracts are not awarded

     through a competitive bidding process. Rather, contracting officers solicit and engage in

     one-on-one negotiations with 8(a) certified firms.

  12. The DBE Program does not use such set-asides; rather, it relies on an overall state “goal”

     and contract-specific “goals,” where the “goal” refers to the percentage of federal funds

     that will, ideally, be ultimately paid out to certified DBE firms.

  13. Idaho has always had an overall state goal; it used contract-specific goals until

     approximately 2006.

  14. Utah has, and continues to have, an overall state goal and contract-specific goals.

  15. Thus, although federally-funded contracts are presumptively awarded to the lowest

     bidder in Utah and Idaho, when a contract has a specific DBE goal, the low bidder must




FINDINGS OF FACT AND CONCLUSIONS OF LAW - 3
         Case 1:13-cr-00065-BLW Document 287 Filed 01/21/14 Page 4 of 11




     meet the DBE goal, or show good faith efforts have been made to meet the goal, in order

     to secure the contract.

  16. In practice, witness testimony established that few, if any contracts were awarded based

     on “good faith efforts” in either state.

  17. Rather, the vast majority of successful bids met or exceeded the DBE goal.

  18. With respect to both the SBA and DBE Programs, witness testimony established that the

     process of setting aside a contract, in the case of the SBA 8(a) Program, or setting a DBE

     goal on a particular contract, in the case of a state DBE Program, is affected and

     determined in part by the pool of certified firms.

  19. `For example, because contract-specific DBE goals were meant to be achievable, the

     number and type of participants in a state’s DBE program would affect whether and what

     DBE goal was set on a contract.

  20. From 1997 through at least 2008, Martin conspired to, and did in fact submit, false and

     fraudulent tax returns and financial information to the Idaho DBE program in order to

     maintain MarCon’s DBE certification.

  21. Martin engaged in a similar scheme to fraudulently obtain and maintain MarCon’s DBE

     certification in the state of Utah.

  22. These fraudulently-obtained certifications entitled MarCon to hold itself out as a prime

     and/or sub-contractor whose work would count toward that state’s overall DBE goal, as

     well as contract-specific DBE goals.




FINDINGS OF FACT AND CONCLUSIONS OF LAW - 4
         Case 1:13-cr-00065-BLW Document 287 Filed 01/21/14 Page 5 of 11




  23. The evidence shows that states signed off and awarded federally-funded contracts based

     on MarCon’s fraudulently-obtained DBE certification, which counted toward that

     contract’s DBE goal.

  24. Had the DBE Programs been aware of Martin’s misrepresentations and scheme to

     defraud, they would not have awarded contracts in which MarCon was used to meet the

     goal.

  25. Martin argues that she had no competitors and so the contracts would have been awarded

     to MarCon even without the certifications.

  26. MarCon was not, particularly during the years 2000 to 2006, the only company that could

     have performed on contracts that are the basis for the money judgment.

  27. In both a sworn deposition and in her application to the SBA, Martin acknowledged that

     she had competition, and was the sole bidder on Idaho Transportation Department

     projects only 25-30% of the time.

  28. In a letter dated April 4, 2004, Martin confirmed the importance of the DBE certification

     to MarCon’s business.

  29. To the extent that MarCon enjoyed market dominance in Idaho, the very manner in which

     the DBE program operated meant Martin’s fraudulently-obtained status buttressed that

     dominance, such as through the setting of goals and discouraging bidding by other non-

     qualified subcontractors.

  30. There were 33 contracts where the DBE and SBA qualifications were crucial, and the

     amounts received and profits made by MarCon on these contracts are set forth accurately

     in Exhibit 5001.


FINDINGS OF FACT AND CONCLUSIONS OF LAW - 5
         Case 1:13-cr-00065-BLW Document 287 Filed 01/21/14 Page 6 of 11




  31. On those 33 contracts, MarCon made a profit of $4,097,844.87 on gross receipts of

     $14,197,002.27.

  32. During the period from 1999 to 2011, Martin held a varying percentage share of

     ownership in MarCon, but her average share was 75.26% calculated by adding up the

     four different percentage shares she held and dividing by four (88.4 + 78.4 + 68.4 +

     65.835 ÷ 4 = 75.26).

  33. Multiplying the profits made ($4,097,844.87) by Martin’s average percentage ownership

     (75.26%) yields a figure of $3,084,038.05.

                                   CONCLUSIONS OF LAW

  1. Martin was convicted of wire and mail fraud in violation of 18 U.S.C. §§ 1341 and 1343.

  2. Section 981(a)(1)(C) of Title 18 provides that “[a]ny property, real or personal, which

     constitutes or is derived from proceeds traceable to a violation of” the mail and wire

     fraud statutes “is subject to forfeiture to the United States.” 18 U.S.C. § 981(a)(1)(C).

  3. “The government must prove by a preponderance of the evidence (1) that the property is

     subject to forfeiture, and (2) the amount of any personal money judgment. United States

     v. Overstreet, 2012 WL 5969643, at *16 (D. Idaho Nov. 29, 2012); see also, United

     States v. Martin, 662 F.3d 301, 307 (4th Cir. 2011).

  4. As to the amount of any money judgment, the government is not limited to the amounts

     or victims alleged in the counts of conviction. United States v. Pena, 2010 WL 2054442

     (9th Cir. 2010).

  5. The government must “show a nexus between the crimes of conviction and the money

     and property it seeks to forfeit.” Overstreet, supra, at *21.


FINDINGS OF FACT AND CONCLUSIONS OF LAW - 6
          Case 1:13-cr-00065-BLW Document 287 Filed 01/21/14 Page 7 of 11




  6. The first question before this Court is “whether the government has established the

     requisite nexus between the property and the offense.” Fed. R. Crim. P. 32.2(b)(1)(A).

  7. The parties were unable to cite any Ninth Circuit cases setting forth a test for determining

     when the Government has established an appropriate causal relationship between the

     property to be forfeited and the statutory violation.

  8. At least five other Circuits have adopted a but-for test: The Government must show that

     the defendant would not have obtained the property but for her illegal activity. U.S. v.

     DeFries, 129 F.3d 1293, 1333 (C.A.D.C. 1997); U.S. v. Angiulo, 897 F.2d 1169, 1213

     (1st Cir.1990); U.S.v. Ofchinick, 883 F.2d 1172, 1183 (3d Cir.1989); U.S. v. Porcelli, 865

     F.2d 1352, 1365 (2d Cir.1989); U.S. v. Horak, 833 F.2d 1235, 1242-43 (7th Cir.1987).

  9. The Court will apply that test in this case.

  10. As discussed in the Findings of Fact above, whether the Court looks to the SBA or DBE

     contracts, the evidence shows that MarCon (and hence Martin) would not have been

     entitled to collect the contract payments that form the basis for the Government’s money

     judgment amount, but for its fraudulently-obtained status.

  11. The testimony at trial and the forfeiture hearing established that federal agencies relied

     upon MarCon’s SBA 8(a) or DBE certification to sign off on the ultimate award of the

     contract.

  12. Thus, but for MarCon’s fraudulently-obtained status, the agencies would not have signed

     off on these contracts and allowed the federal money to be disbursed to MarCon.

  13. For these reasons the Court finds that the Government has established the but-for

     causation required for forfeiture.


FINDINGS OF FACT AND CONCLUSIONS OF LAW - 7
         Case 1:13-cr-00065-BLW Document 287 Filed 01/21/14 Page 8 of 11




  14. The Court turns next to the issue whether Martin is entitled to deduct direct costs from

     the gross receipts to arrive at a final forfeiture amount. That issue is resolved by the

     language of the statute.

  15. Forfeiture applies to the “proceeds” traceable to a violation of certain enumerated statutes

     that the defendant was convicted of in this case. 18 U.S.C. § 981(a)(1)(C).

  16. The statutory definition of what constitutes “proceeds” differs depending on the nature of

     the offense.

  17. In cases involving “illegal goods,” the term “proceeds” means “property of any kind

     obtained directly or indirectly . . . and is not limited to the net gain or profit realized from

     the offense.” 18 U.S.C. § 981(a)(2)(A).

  18. But the term “proceeds” is more limited if the case involves “lawful goods or lawful

     services that are sold or provided in an illegal manner.” 18 U.S.C. § 981(a)(2)(B). In

     that case, “proceeds” means the money acquired “less the direct costs incurred in

     providing the goods or services.” Id. The defendant must prove the direct costs, and

     those costs “shall not include any part of the overhead expenses . . . .” Id.

  19. The parties cited no case law from the Ninth Circuit drawing a distinction between these

     two statutory provisions. But two cases from other Circuits provide persuasive if not

     binding insights.

  20. In U.S. v. Hasan, 718 F.3d 338 (4th Cir. 2013), the sale of contraband cigarettes was

     found to be the sale of “illegal” goods as they “could never be sold lawfully” because the

     very act of possessing them was illegal under the law. U.S. v. Hasan, 718 F.3d 338 (4th

     Cir. 2013).


FINDINGS OF FACT AND CONCLUSIONS OF LAW - 8
         Case 1:13-cr-00065-BLW Document 287 Filed 01/21/14 Page 9 of 11




  21. In U.S. v. Nacchio, 573 F.3d 1062, 1090 (10th Cir. 2009), the sale of Qwest stock in an

     insider trading case was found to be the sale of lawful goods in an unlawful manner. The

     Circuit held that the defendant “was not participating in an inherently unlawful activity

     by selling Qwest stock; trading, by itself, would not have been an unlawful activity.

     Rather, the illegality inhered in his selling securities (‘lawful goods’) in an unlawful

     manner, i.e., on the basis of material, nonpublic information.”

  22. The Court finds this case closer to Nacchio than Hasan.

  23. The guardrails and barriers provided by MarCon pursuant to government contracts were

     “lawful goods or lawful services” within the meaning of § 981(a)(2)(B). Selling those

     goods and services was not inherently illegal. They were lawful goods sold under a false

     designation.

  24. Accordingly, the Court will apply § 981(a)(2)(B), and deduct the direct costs in

     computing the “proceeds” subject to forfeiture.

  25. That calculation is provided in the second page of Exhibit 5001. When the direct costs

     are deducted, the resulting forfeiture amount is $4,097,844.87.

  26. Because Martin shared ownership of MarCon, she did not receive all the profits but only

     a percentage based on her ownership shares.

  27. She is only required to forfeit “the amount of money acquired through the illegal

     transactions,” 18 U.S.C. § 981(a)(2)(B), and hence is only liable for a percentage of the

     $4,097,844.87 sum corresponding to her ownership interest.

  28. That sum, as calculated in the Findings of Fact above, is $3,084,038.05.




FINDINGS OF FACT AND CONCLUSIONS OF LAW - 9
         Case 1:13-cr-00065-BLW Document 287 Filed 01/21/14 Page 10 of 11




  29. Forfeiture is excessive under the Eighth Amendment if it is “grossly disproportional to

     the gravity of the offense.” United States v. Bajakajian, 524 U.S. 321, 334 (1998).

  30. In determining the amount of the money judgment, the Court has taken into account the

     factors set out in Solem v. Helm, 463 U.S. 277, 290 (1983), and adopted by the Ninth

     Circuit in United States v. Busher, 817 F.2d 1409, 1415 (9th Cir. 1987).

  31. Here, the money judgment is not “grossly” disproportionate to the offenses of conviction,

     given the nature and extent of the crimes; the fact MarCon owed its market dominance, at

     least in part, to the fraudulently-obtained statuses; the Court’s statutory authority to

     impose substantial fines for these offenses; and the inability to truly calculate the harm

     caused by Martin’s fraud, which affected not only the entire goal-setting process by the

     Idaho DBE Program, but actual and would-be competitors.

  32. The evidence shows that Martin was the leader and organizer of two extensive,

     longstanding conspiracies conducted for the sole purpose of obtaining the contracts that

     form the basis for the money judgment.

  33. Given Martin’s own admitted dependence on the programs she defrauded, particularly the

     Idaho DBE Program, Martin is not like the defendant in Busher, where the value of the

     property to be forfeited greatly exceeded the total dollar amount of the fraudulent

     conduct. Busher, 817 F.2d at 1414.

  34. Here, the money judgment is directly proportional to the illegal conduct: it represents the

     proceeds that Martin would not have obtained but for her fraud.

  35. Nor was Martin a minor player; to the contrary, she was the undisputed leader and

     organizer of her business enterprise for over a decade.


FINDINGS OF FACT AND CONCLUSIONS OF LAW - 10
         Case 1:13-cr-00065-BLW Document 287 Filed 01/21/14 Page 11 of 11




  36. Forfeiture of substitute assets is appropriate here, where the ability to trace and locate the

     proceeds of Martin’s fraud has been substantially, if not entirely, impaired by the very

     manner in which Martin and her coconspirators committed the crimes that form the basis

     for forfeiture. See 18 U.S.C. § 853(p).

  37. Inherent in the scheme to defraud the SBA and DBE Programs was the systematic and

     prolonged concealment of Martin’s assets, which she accomplished in part by falsifying

     public and corporate records that might assist in tracing, holding property in the names of

     others, and transferring property into the names of nominees.

  38. The Court credits the testimony of Agent Culbertson, who testified that he was unable to

     locate and/or trace the original fraud proceeds, due to the lack of reliable records,

     intervening transfers or sales, and the commingling of fraud proceeds in the MarCon

     operating account.

  39. The Court will therefore order the forfeiture of substitute assets.

  40. The substitute assets in this case consist of eight parcels of real property.

  41. The Court will enter a separate Preliminary Order of Forfeiture setting out the money

     judgment and describing in detail the substitute assets subject to forfeiture.



                                                 DATED: January 21, 2014


                                                 _________________________
                                                 B. Lynn Winmill
                                                 Chief Judge
                                                 United States District Court




FINDINGS OF FACT AND CONCLUSIONS OF LAW - 11
